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TIMOTHY COURCHAINE
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District of Arizona

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Filed 04/16/25 Page 1 of 2

CR25-01891 TUC-RM(MAA)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,

VS.

David Alfredo Valencia, Jr.,
Defendant.

THE GRAND JURY CHARGES:

INDICTMENT

Violations:

18 U.S.C. § 554(a)

(Attempted Smuggling of Goods from the
United States)

(Count One)

18 U.S.C. o24(k)(2)(B)

(Attempted Smuggling Goods from the
United States with Intent to Commit a
Felony)

(Count Two)

18 U.S.C. § 933(a)(2) and (b)
teeny Receipt of a Firearm)
Count Three)

COUNT ONE

On or about September 9, 2024, in the District of Arizona, the defendant, DAVID

ALFREDO VALENCIA, JR., did knowingly and fraudulently attempt to export and send

from the United States, any merchandise, article, or object contrary to any law or regulation

of the United States, and received, concealed, bought, sold, and in any manner facilitated

the transportation, concealment, and sale of such merchandise, article or object, that is: one

(1) Glock, model 17, 9mm pistol, and two (2) firearm magazines; knowing the same to be

intended for exportation contrary to any law or regulation of the United States, to wit: Title

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50, United States Code, Section 4819; Title 15, Code of Federal Regulations, Part 774; and
Title 15, Code of Federal Regulations, Part 738; in violation of Title 18, United States
Code, Section 554(a).
COUNT TWO
On or about September 9, 2024, in the District of Arizona, the defendant, DAVID
ALFREDO VALENCIA, JR., did knowingly attempt to smuggle or take out of the United

States a firearm, that is, one (1) Glock, model 17, 9mm pistol, with intent to engage in or
to promote conduct that constitutes a felony, to wit: Title 18, United States Code, Sections
554(a), Smuggling of Goods from the United States.
All in violation of Title 18, United States Code, Section 924(k)(2)(B).
COUNT THREE
On or about September 9, 2024, in the District of Arizona, the defendant, DAVID
ALFREDO VALENCIA, JR., did receive from another person, in or otherwise affecting

interstate or foreign commerce, one (1) Glock, model 17, 9mm pistol, knowing or having
reasonable cause to believe that such receipt would constitute a felony, in violation of Title

18, United States Code, Section 933(a)(2) and (b).

A TRUE BILL
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FOREPERSON OF THE GRAND JURY
Dated: April 16, 2025

TIMOTHY COURCHAINE
United States Attorney
District of Arizona

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ADAM D. ROSSI
Assistant U.S. Attorney

United States of America v. David Alfredo Valencia, Jr.
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